                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In re:                                               Case No.: 17-16712

John C. Yasch                                        Chapter 13
Toni K. Yasch AKA Toni K.
Kemnitz                                              Judge Arthur I Harris


         Debtor(s).                                  *****************
                                                     MOTION OF PNC BANK, NATIONAL
                                                     ASSOCIATION FOR RELIEF FROM
                                                     STAY (FIRST MORTGAGE)

                                                     13407 Sherry Ave, Cleveland, OH 44135-
                                                     2150

         PNC Bank, National Association (the "Creditor") moves this Court, under Bankruptcy

Code §§ 361, 362, 363 and other sections of Title 11 of the United States Code, and under

Federal Rule of Bankruptcy Procedure 4001, and under Local Bankruptcy Rule 4001-1 for an

order conditioning, modifying or dissolving the automatic stay imposed by Bankruptcy Code §

362.


                                MEMORANDUM IN SUPPORT

1.       The Court has jurisdiction over this matter under 28 U.S.C §§ 157 and 1334. This is a

         core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion is

         proper under 28 U.S.C. §§ 1408 and 1409.

2.       On December 21, 2012, Toni K. Yasch AKA Toni K. Kemnitz obtained a loan from PNC

         Mortgage, a division of PNC Bank, National Association in the amount of $95,389.00.

         Such loan was evidenced by a Promissory Note dated December 21, 2012 (the "Note"), a

         copy of which is attached as Exhibit A.



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3.      To secure payment of the Note and performance of the other terms contained in it, John

        C. Yasch and Toni K. Yasch AKA Toni K. Kemnitz (collectively ''Debtor'') executed an

        Open-End Mortgage in favor of PNC Mortgage, a division of PNC Bank, National

        Association dated December 21, 2012 (the "Security Agreement"). The Security

        Agreement granted a lien on the real property located at 13407 Sherry Ave, Cleveland,

        OH 44135-2150 owned by the Debtor (the "Collateral"). The Collateral is more fully

        described in the Security Agreement (check one):

                attached as Exhibit B;

        OR

                contained in the Note, attached as Exhibit A.

4.      The lien created by the Security Agreement was duly perfected by:

                Filing of the Security Agreement in the office of the Cuyahoga County Recorder
                on January 28, 2013.

                Filing of the UCC-1 Financing Statement in the office of ________________
                _______________________on <DATE>.
                Notation of the lien on the Certificate of Title.

                Other (state with particularity) ___________________________

A copy of the recorded Security Agreement, UCC-1 Financing Statement, Certificate of Title or

other document, as applicable, is attached as Exhibit B. Based on Debtor's Schedule D, the lien

is the first lien on the Collateral.

5.      The entity in possession of the original Note as of the date of this motion, is Creditor.

6.      The entity servicing the loan is PNC Bank, N.A..

7.      The Note was transferred, as evidenced by the following:

        a.      If the Collateral is real estate:




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           i.       Under Uniform Commercial Code § 3-203(a) as applicable under state law
                    in effect where the property is located, from the original lender (check
                    only one):

                                   N/A.

                                   OR

                                   By endorsement on the Note, payable to
                                   _________________.

                                   OR

                                   By blank endorsement on the Note. Because the
                                   endorsement is in blank and Creditor is in possession of
                                   the original Note, Creditor is entitled to enforce the
                                   instrument.

                                   OR

                                   By allonge attached to the Note, payable to
                                   ________________.

                                   OR

                                   By blank allonge, attached to the Note.

                                   OR

                                   The Note is not endorsed to the Creditor, or is not
                                   endorsed in blank with an allegation that the Creditor is in
                                   possession of the original Note. The factual and legal basis
                                   upon which the Creditor is entitled to bring this motion is
                                   (explain with particularity and attach supporting
                                   documentation):
                                                                          .

                                   OR

                                   By endorsement on the Note or by allonge attached to the
                                   Note, through a power of attorney. If this box is checked, a
                                   copy of the power of attorney is attached as Exhibit <__>.
                                   Explain why it provides Creditor the authority to endorse
                                   the Note:
                                   _____________________________________
           ii.      Under Uniform Commercial Code § 3-203(a) as applicable under state law
                    in effect where the property is located, from the <FIRST TRANSFEREE>
                    to <                       > [ADD ADDITIONAL TRANSFER


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                       SECTIONS AS APPROPRIATE. THE LAST TRANSFEREE MUST BE
                       THE CREDITOR].

             iii.      A court has already determined that Creditor has the ability to enforce the
                       Note and Security Agreement with a judgment dated <INSERT DATE OF
                       JUDGMENT> in the <INSERT NAME OF COURT>. A copy of the
                       judgment is attached as Exhibit <__>.

             iv.       Other: __________________________________ [explain].

      b.     If the Collateral is not real estate (check one):


                       N/A.

             OR

                       From the original lender to <FIRST TRANSFEREE> by <STATE
                       METHOD OR DOCUMENT EFFECTING TRANSFER>.[ADD
                       ADDITIONAL TRANSFER SECTIONS AS APPROPRIATE. THE
                       LAST TRANSFEREE MUST BE THE CREDITOR.]

8.    The Security Agreement was transferred as follows (check one):

                       N/A.

             OR

                       From the original lender, mortgagee, or mortgagee's nominee on <DATE>
                       to <FIRST TRANSFEREE>. The transfer is evidenced by the
                       document(s) attached to this Motion as Exhibit <___>. [ADD
                       ADDITIONAL TRANSFER SECTIONS AS APPROPRIATE. THE
                       LAST TRANSFEREE MUST BE THE CREDITOR.]

9.    The value of the Collateral is $54,100.00. This valuation is based on Cuyahoga County

      Auditor's tax record.

10.   As of March 1, 2018, there is currently due and owing on the Note the outstanding

      principal balance of $82,922.47, plus interest accruing thereon at the rate of 4.000% per

      annum ($9.09 per day) from December 1, 2017, as described in more detail on the

      worksheet. The total provided in this paragraph cannot be relied upon as a payoff

      quotation.


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11.   The amount due and owing on the Note as set forth in paragraph 10 does not include a

      credit for the sum held in a suspense account by the Creditor. The amount of the credit

      is $24.06.

12.   Other parties believed to have an interest in the Collateral besides the debtor(s), the

      Creditor, and the trustee are (check all that apply):

                      N/A.

                      The Cuyahoga County Treasurer, for real estate taxes, in an unknown
                      amount.

                      <CO-OWNERS, IF APPLICABLE, STATE NAME>.

                      <ANY OTHER PARTY HOLDING A LIEN, IF APPLICABLE, IN THE
                      AMOUNT OF $        [ADD ADDITIONAL PARTIES AS
                      APPROPRIATE>.

13.   The Creditor is entitled to relief from the automatic stay under Bankruptcy Code

      § 362(d) for these reason(s) (check all that apply):

                      Debtor has failed to provide adequate protection for the lien held by the
                      Creditor for the reasons stated in the boxes checked below.

                      Debtor has failed to keep the Collateral insured as required by the Security
                      Agreement.

                      Debtor has failed to keep current the real estate taxes owed on the
                      Collateral.

                      Debtor has failed to make periodic payments to Creditor since the
                      commencement of this bankruptcy case and is due for the months of
                      January 1, 2018 through March 1, 2018, which unpaid payments are
                      in the aggregate amount of $1,981.71 through March 1, 2018. The
                      total provided in this paragraph cannot be relied upon as a
                      postpetition reinstatement quotation.

                      Debtor is delinquent in funding the plan, and therefore the trustee has
                      failed to make periodic payments to Creditor since the commencement of
                      this bankruptcy case for the months of <STATE EACH MONTH AND
                      YEAR>, which unpaid payments are in the aggregate amount of
                      <AMOUNT> through <DATE>. The total provided in this paragraph
                      cannot be relied upon as a postpetition reinstatement quotation.


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                     Debtor has no equity in the Collateral, because the Collateral is valued
                     at       , and including the Creditor's lien, there are liens in an
                     aggregate amount of                    on the Collateral.

                     Debtor's plan provides for surrender of the Collateral.

                     The property is not necessary to an effective reorganization because
                     _____________________________________.

                     Other cause (set forth with specificity): ____________________.

14.    Creditor has completed the worksheet attached as Exhibit C.

       WHEREFORE, Creditor prays for an Order from the Court granting Creditor relief

from the automatic stay of Bankruptcy Code. § 362 to permit Creditor to proceed under

applicable nonbankruptcy law.

                                                   Respectfully submitted,
                                                      /s/ Adam B. Hall
                                                   Stephen R. Franks (0075345)
                                                   Edward H. Cahill (0088985)
                                                   Adam B. Hall (0088234)
                                                   John R. Cummins (0036811)
                                                   Karina Velter (94781)
                                                   Sarah E. Barngrover (28840-64)
                                                   Manley Deas Kochalski LLC
                                                   P.O. Box 165028
                                                   Columbus, OH 43216-5028
                                                   Telephone: 614-220-5611
                                                   Fax: 614-627-8181
                                                   Attorneys for Creditor
                                                   The case attorney for this file is Stephen R.
                                                   Franks.
                                                   Contact email is srfranks@manleydeas.com




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                                CERTIFICATE OF SERVICE

                                        21 2018, a true and accurate copy of the foregoing
       This is to certify that on March ___,
Motion for Relief from Stay on First Mortgage for Real Property Located at 13407 Sherry Ave,
Cleveland, OH 44135-2150 was served:

Via the Court's Electronic Case Filing System on these entities and individuals who are listed on
the Court's Electronic Mail Notice List:

   Office of U.S. Trustee, Northern District of Ohio, Party of Interest, (Registered
   address)@usdoj.gov

   Lauren A. Helbling, Chapter 13 Trustee, lauren@helblinglpa.com

   William J. Balena, Attorney for John C. Yasch and Toni K. Yasch AKA Toni K. Kemnitz,
   docket@ohbksource.com

and on the below listed parties by regular U.S. mail, postage prepaid:

   John C. Yasch and Toni K. Yasch AKA Toni K. Kemnitz, 13407 Sherry Avenue, Cleveland,
   OH 44135

   John C. Yasch and Toni K. Yasch AKA Toni K. Kemnitz, 13407 Sherry Ave, Cleveland, OH
    44135-2150

   Cuyahoga County Treasurer, 1219 Ontario Street, Rm 135, Cleveland, OH 44113


                                                        /s/ Adam B. Hall




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